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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          NORTHERN DIVISION

MANN CONSTRUCTION, INC., et )                CASE NO. 1:20-cv-11307-TLL-PTM
al.                         )
                            )
             Plaintiffs,    )                JUDGE THOMAS L. LUDINGTON
                            )
         v.                 )
                            )                PLAINTIFFS’ MOTION TO
                            )                ENFORCE MANDATE OF THE
UNITED STATES OF AMERICA,   )                SIXTH CIRCUIT COURT OF
                            )                APPEALS
             Defendant.     )


      Plaintiffs, Mann Construction, Inc., Brook Wood, Kimberly Wood, Lee

Coughlin, and Debbie Coughlin (collectively the “Plaintiffs”), respectfully move

this Court for an order enforcing the mandate of the United States Court of Appeals

for the Sixth Circuit in this case. On March 3, 2022, the Court of Appeals for the

Sixth Circuit, in a unanimous and unqualified decision authored by Chief Judge

Jeffrey Sutton, decided Mann Constr., Inc. v. United States, 27 F.4th 1138 (6th

Cir.2022), setting aside IRS Notice 2007-83, 2007-2 C.B. 960, because the IRS

failed to follow the notice-and-comment procedures required by the APA. The Sixth

Circuit’s mandate was issued on April 25, 2022.

      In order to enforce the Sixth Circuit’s mandate, Plaintiffs hereby move this

Court for an order: (1) vacating and setting aside Notice 2007-83; (2) requiring

Defendants issue a refund forthwith, together with interest, to each Plaintiff,
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respectively, for the § 6707A penalties paid for 2013; and (3) requiring Defendants

to rescind § 6707A penalties imposed on Plaintiffs in each of the years 2014-2017

or, to the extent any of the Plaintiffs have already paid the § 6707A penalties for any

of the years 2014-2017, Defendants are to issue a refund, together with interest, to

each Plaintiff who has paid such penalty for any of those years. Further, Plaintiffs

request such other relief to which they may be entitled in accordance with its Motion

for Attorneys’ Fees (ECF No. 52).

      The grounds for this Motion are fully set forth in the attached Memorandum

in Support. For the convenience of this Court, a proposed order is attached hereto.



                                        Respectfully submitted,

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                         MEMORANDUM IN SUPPORT

I.     BACKGROUND

       On May 26, 2020, Plaintiffs filed this lawsuit against the United States seeking

(1) to set aside Notice 2007-83 for failure to comply with the Administrative

Procedures Act (APA); and (2) a refund of penalties paid to the Internal Revenue

Service (IRS) pursuant to 26 U.S.C. § 6707A.

       On August 25, 2020, the United States filed a motion to dismiss Plaintiffs’

Complaint. [ECF No. 15]. On October 20, 2022, the Court granted in part and denied

in part the United States’ motion to dismiss. [ECF No. 22]. Significantly, the Court

allowed Plaintiffs’ primary claim—failure to comply with APA’s notice and

comment requirement—to proceed. On February 24, 2021, both parties sought

summary judgment on this remaining claim. With matter fully briefed, on May 13,

2021, the Court granted the United States’ motion for summary judgment. [ECF No.

45].

       On May 14, 2021, Plaintiffs appealed the Court’s orders granting the United

States’ motion to dismiss and motion for summary judgment to the Sixth Circuit of

Appeals. [ECF No. 47]. The parties argued the appeal on December 9, 2021. On

March 3, 2022, in a unanimous decision authored by Chief Judge Jeffrey Sutton, the

Sixth Circuit reversed this Court’s summary judgment order and setting aside Notice

2007-83. In so ordering, Chief Judge Jeffrey Sutton writes:


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      Because the IRS’s process for issuing Notice 2007-83 did not satisfy
      the notice-and-comment procedures for promulgating legislative rules
      under the APA, we must set it aside. In the absence of this Notice, we
      need not address the taxpayers’ remaining claims.

Mann Constr., Inc. v. United States, 27 F.4th 1138 (6th Cir.2022). This Court

received the Sixth Circuit’s mandate on April 25, 2022. [ECF No. 50].

II.   LEGAL ANALYSIS

      Because the Sixth Circuit’s decision fully resolved the merits of Plaintiffs’

claims, all that remains for this Court to do is to enforce the Sixth Circuit’s mandate.

See In re Sanford Fork & Tool Co., 160 U.S. 247, 255, 40 L. Ed. 414, 16 S. Ct. 291

(1895) (a lower court “is bound by the decree as the law of the case; and must carry

it into execution, according to the mandate. That court cannot vary it, or examine it

for any other purpose than execution.”); see also United States Steel Corp. v. Holley,

479 F.2d 489, 494 (6th Cir. 1973) (on remand, a trial court must proceed in

accordance with the mandate and law of the case on identical issues as established

by the appellate court); Cowgill v. Raymark Indus., Inc., 832 F.2d 798, 802 (3d Cir.

1987) (law of the mandate, also called law of the case, embodies the principle that

on remand “litigants should not be permitted to relitigate issues that they have

already had a fair opportunity to contest”); Firth v. United States, 554 F.2d 990, 993

(9th Cir. 1977) (“When a case has been decided by an appellate court and remanded,

the court to which it is remanded must proceed in accordance with the mandate and

such law of the case as was established by the appellate court.”). On remand, a trial
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court can only consider “any issue not expressly or impliedly disposed of on

appeal.” Firth, 554 F.2d at 993; see also Nguyen v. United States, 792 F.2d 1500,

1502 (9th Cir. 1986). District courts “must implement both ‘the letter and the spirit

of the mandate, taking into account the appellate court’s opinion and the

circumstances it embraces.’” Delgrosso v. Spang & Co., 903 F.2d 234, 240 (3d Cir.

1990) (quoting Bankers Trust Co. v. Bethlehem Steel Corp., 761 F.2d 943, 949 (3rd

Cir. 1985).

      To enforce the mandate here, the Court should do three things. First, and

consistent with Sixth Circuit’s unambiguous holding, it should set aside and vacate

Notice 2007-83. Second, the Court should order Defendants to issue a refund

forthwith, together with interest, to each Plaintiff, respectively, for the § 6707A

penalties paid for 2013. The § 6707A penalties paid for 2013 based solely on

Plaintiffs’ alleged failure to disclose its participation in a purported listed

transaction, identified in Notice 2007-83. Third, the Court should order Defendants

to rescind § 6707A penalties imposed on Plaintiffs in each of the years 2014-2017

or, to the extent any of the Plaintiffs have already paid the § 6707A penalties for any

of the years 2014-2017, Defendants are to issue a refund, together with interest, to

each Plaintiff who has paid such penalty for any of those years.




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A.    The Court Must Abide by the Sixth Circuit’s Mandate and Vacate and
      Set Aside Notice 2007-83

      On March 3, 2022, the Sixth Circuit held that “[b]ecause the IRS’s process for

issuing Notice 2007-83 did not satisfy the notice-and-comment procedures for

promulgating legislative rules under the APA, we must set it aside.” Mann Constr.,

Inc. 27 F.4th at 1148. The Sixth Circuit’s conclusion is clear: Notice 2007-83 is

unlawful and must be set aside. This mandate contains no qualifications. The entire

Notice is set aside everywhere and as to everyone.

      In relevant part, the APA provides: “To the extent necessary to decision and

when presented, the reviewing court shall . . . hold unlawful and set aside agency

action” where, as here, that action fails to comply with the procedure required by

law. 5 U.S.C. § 706(2)(C) (emphasis added). In the annals of the APA and

administrative law, the term “set aside” as used in 5 U.S.C. § 706(2)(C) means

“vacatur.” In fact, successful challenges against government agencies that violate

the APA favor nationwide vacatur of agency actions that violate the APA.

      Significantly, and very recently on March 21, 2022, the United States District

Court, Eastern District of Tennessee in CIC Serv. v. United States, adopted the Sixth

Circuit’s opinion in Mann Constr., Inc. as “binding” and concluded that Notice

2016-66 (a Notice issued in a similar manner as Notice 2007-83) “is invalid because

the IRS failed to observe notice-and-comment procedures required by the APA.”

CIC Servs., LLC v. Internal Revenue Serv., E.D.Tenn. No. 3:17-cv-110, 2022 U.S.
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Dist. LEXIS 63545, at *11 (Mar. 21, 2022). The Eastern District of Tennessee

further agreed with Mann Constr., Inc. that the plain “text of the APA provides that

the reviewing court ‘shall . . . hold unlawful and set aside agency action, findings,

and conclusions found to be . . . arbitrary, capricious, and abuse of discretion, or

otherwise not in accordance with law’ or ‘without observance of procedure required

by law.’” Id. ¶ 21 citing 5 U.S.C. § 706(2)(A), (D) (emphasis in original). Upon

finding that the IRS failed to observe notice-and-comment when promulgating

Notice 2016-16, the Eastern District of Tennessee ordered that “Internal Revenue

Service Notice 2016-16 is hereby VACATED.” Id. ¶ 24.

      The CIC Servs., LLC decision is significant for three reasons central to this

matter. First, the decision is expressly states that the Sixth Circuit’s ruling Mann

Constr., Inc. is “binding.” Id. ¶ 11. Second, it concludes that an IRS notice that fails

to comply with the APA’s notice-and-comment requirement is unlawful and must

be set aside. Id. Third, an IRS notice is unlawful and must be set aside shall be

vacated. Id. ¶ 24. These reasons should help guide this Court.

      Moreover, just last year, this Court held:

      The APA provides that when a reviewing court finds an agency action
      to be unlawful, the reviewing court “shall . . . set [that action] aside.” 5
      U.S.C. § 706(2). Accordingly, “[t]he ordinary practice is to vacate
      unlawful agency action.” United Steel v. Mine Safety & Health Admin.,
      925 F.3d 1279, 1287, 441 U.S. App. D.C. 212 (D.C. Cir. 2019); see
      also Dine Citizens Against Ruining Our Env’t v. Bernhardt, 923 F.3d
      831, 859 (10th Cir. 2019) (“Vacatur of agency action is a common, and


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      often appropriate form of injunctive relief granted by district
      courts.”), reh’g denied (June 24, 2019).

Ackerman Bros. Farms, LLC v. United States Dep’t of Agric., 2021 US Dist. LEXIS

247821 (E.D. MI 2021).

      Most recently, the Middle District of Florida cited a litany of cases that require

vacatur to not just apply to the specific plaintiffs in a case, but all similarly situated

parties when holding:

      The APA requires that courts “hold unlawful and set aside agency
      action” that violates the APA or exceeds the agency’s authority. 5
      U.S.C. § 706. Courts have long interpreted this provision as authorizing
      vacatur. Indeed, “vacatur . . . is the ordinary APA remedy.” Black
      Warrior Riverkeeper, Inc. v. U.S. Army Corps of Eng’rs, 781 F.3d 1271,
      1290             (11th           Cir.         2015)           (quotation
      omitted); accord Allina Health Servs., 746 F.3d at 1110 (describing
      vacatur as “the normal remedy” for an APA violation); Advocs. for
      Highway & Auto Safety, 429 F.3d at 1151 (“[U]nsupported agency
      action normally warrants vacatur . . . .”). Some judges even reason that
      the APA mandates vacatur and permits of no other, lesser
      remedy. See Checkosky v. SEC, 23 F.3d 452, 492, 306 U.S. App. D.C.
      144 (D.C. Cir. 1994) (Randolph, J., separate opinion) (“[O]ur decisions
      uniformly—and quite firmly—hold that § 706[] requires us to vacate .
      . . .”); accord Milk Train, Inc. v. Veneman, 310 F.3d 747, 757, 354 U.S.
      App. D.C. 25 (D.C. Cir. 2002) (Sentelle, J., dissenting) (explaining that
      remand to the agency without vacatur violates the APA). And vacatur
      ordinarily applies to the rule generally, not to just the plaintiffs in a
      suit. See Nat’l Mining Ass’n v. U.S. Army Corps of Eng’rs, 145 F.3d
      1399, 1409, 330 U.S. App. D.C. 329 (D.C. Cir. 1998) (“[W]hen a
      reviewing court determines that agency regulations are unlawful, the
      ordinary result is that the rules are vacated—not that their application
      to the individual petitioners is proscribed.” (quoting Harmon v.
      Thornburgh, 878 F.2d 484, 495 n.21, 278 U.S. App. D.C. 382 (D.C.
      Cir. 1989))); see also Barr v. Am. Ass’n of Pol. Consultants, Inc., 140
      S. Ct. 2335, 2351 n.8, 207 L. Ed. 2d 784 (2020) (explaining that, when
      “a provision [of law] is declared invalid[,]” the invalid provision

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      “cannot be lawfully enforced against others”—not just “against the
      plaintiff”).

Health Freedom Def. Fund, Inc. v. Biden, 2022 US Dist LEXIS 71206 at *59-60

(M.D. FL 2022).

      Based on the foregoing, the Sixth Circuit’s mandate to “set aside” Notice

2007-83 is directing this Court to VACATE the Notice. As such, Plaintiffs

respectfully request that this Court enforce the Sixth Circuit’s mandate and

VACATE Notice 2007-83.

      B.     Plaintiffs Are Entitled to Refunds of All § 6707A Penalties for 2013
             and Rescission of All § 6707A Penalties Imposed on Plaintiffs in
             Each of the Years 2014-2017

      Plaintiffs’ Complaint requests a refund of all § 6707A penalties paid for tax

year 2013 and a rescission of § 6707A penalties for tax years 2014-2017 (or a refund

of same if previously paid). One basis for the relief requested was that Notice 2007-

83 was unlawful, and must be set aside for failing to comply with the notice and

comment provisions of the APA. The Sixth Circuit agreed Notice 2007-83 must be

set aside.

      The IRS assessed § 6707A penalties against Plaintiffs for failure to disclose

its participation in a purported listed transaction. The sole basis for the § 6707A

penalties was Notice 2007-83. Plaintiffs each paid these § 6707A penalties for tax

year 2013 and requested a refund, and with resepct to the other years, Plaintiffs

simply requested a rescission of the penalties (however, during the pendency of this
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case, the IRS seized certain of the Plaintiffs assets to pay the alleged amount owed).

Because the Sixth Circuit set aside and vacated Notice 2007-83, it is a nullity and

any action taken by Defendants relying Notice 2007-83 is set aside as unlawful. It is

for this reason that the Sixth Circuit uttered the final sentence of its decision: “In the

absence of this Notice, we need not address the taxpayers’ remaining claims.”

      Therefore, because the Sixth Circuit set aside Notice 2007-83, Plaintiffs are

entitled to refunds of all § 6707A penalties paid for tax years 2013-2017 and any

remaining alleged § 6707A penalties for these years should be rescinded.

                                   CONCLUSION

      In order to enforce the Sixth Circuit’s mandate, The Court should issue an

order: (1) vacating and setting aside Notice 2007-83; (2) requiring Defendants issue

a refund forthwith, together with interest, to each Plaintiff, respectively, for the §

6707A penalties paid for 2013; and (3) requiring Defendants to rescind § 6707A

penalties imposed on Plaintiffs in each of the years 2014-2017 or, to the extent any

of the Plaintiffs have already paid the § 6707A penalties for any of the years 2014-

2017, Defendants are to issue a refund, together with interest, to each Plaintiff who

has paid such penalty for any of those years. Additionally this Court should order

such further relief as set forth in Plaintiffs Motion for Attorneys’ Fees (Doc. No. 52).




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                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was served via the Court’s

electronic filing system on June 8, 2022.

                                      /s/ Matthew C. Miller
                                      Matthew C. Miller (0084977)




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